                              Case 25-12153    Doc 45     Filed 05/22/25       Page 1 of 2
Entered: May 22nd, 2025
Signed: May 22nd, 2025

SO ORDERED




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                           (Baltimore Division)

        In re:                                            *

        CC 1400 ALICEANNA STREET LLC,                     *   Case No.: 25-12153-NVA

                          Debtor.                         *   Chapter 11

        *          *      *      *     *        *         *       *        *     *      *     *      *      *

            ORDER GRANTING DEBTOR’S APPLICATION FOR AUTHORITY TO EMPLOY
            WHITEFORD, TAYLOR & PRESTON L.L.P. AS ATTORNEYS FOR DEBTOR AND
                DEBTOR-IN-POSSESSION EFFECTIVE AS OF THE PETITION DATE

                   Upon consideration of the Application for Authority to Employ Whiteford, Taylor &

        Preston L.L.P. as Attorneys for Debtor and Debtor-in-Possession Effective as of the Petition

        Date (the “Application”), filed by CC 1400 Aliceanna Street LLC (the “Debtor”), the Verified

        Statement of Brent C. Strickland, a partner of the firm of Whiteford, Taylor & Preston L.L.P.

        (“Whiteford”), pursuant to Bankruptcy Rule 2014(a), and the Disclosure of Compensation

        submitted under Bankruptcy Rule 2016(b), and it appearing that Whiteford is duly qualified to

        represent the Debtor in its case before this Court, and the Court being satisfied that Whiteford

        neither holds nor represents an interest adverse to the Debtor or its estate, that its employment is

        necessary and is in the best interests of the Debtor, its estate, and creditors, and it appearing that

        adequate notice of the Application has been provided and that no further notice of said
                   Case 25-12153       Doc 45       Filed 05/22/25   Page 2 of 2




Application need be given; and after consideration of any objections made thereto and after any

hearing thereon, and it appearing that good cause exists for granting the relief requested in the

Application; it is, by the United States Bankruptcy Court for the District of Maryland,

        ORDERED that the Application be and it hereby is APPROVED as set forth herein,

effective as of March 13, 2025 and it is further,

        ORDERED that the Debtor be and hereby is authorized to employ Whiteford as counsel

to represent the Debtor as debtor and debtor-in-possession in this case on the terms set forth in

the Application, with compensation and reimbursement of expenses subject to further Order of

this Court; and it is further,

        ORDERED that, pending further order of the Court approving Whiteford’s fees and

expenses, Whiteford shall be authorized to hold the retainer in the amount of amount of

$3,714.00; and it is further,

        ORDERED, that this Court shall retain jurisdiction over any matters related to or arising

from the implementation of this Order.

                                         END OF ORDER

cc:     Brent C. Strickland, Esq.
        8830 Stanford Boulevard, Suite 400
        Columbia, MD 21045

        Gerard R. Vetter, Esq.
        Office of the United States Trustee
        101 W. Lombard Street, Suite 2625
        Baltimore, MD 21201




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